                   IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


DERRICK ALLEN,                           )
                                         )
                     Plaintiff,          )
                                         )
          v.                             )        1:19CV794
                                         )
GOVERNOR ROY COOPER, et al.,             )
                                         )
                     Defendants.         )


                                    ORDER

     The Recommendation of the United States Magistrate Judge was

filed with the court in accordance with 28 U.S.C. § 636(b) and, on

September 22, 2021, was served on the parties in this action.

(Text Order and Recommendation dated Sept. 21, 2021; Doc. 23.)

Plaintiff objected to the Recommendation.           (Doc. 24.)

     The court has appropriately reviewed the portions of the

Magistrate Judge’s report to which objections were made and has

made a de novo determination in accord with the Magistrate Judge’s

report.        The   court   therefore   adopts    the   Magistrate   Judge’s

Recommendation.

     IT IS THEREFORE ORDERED that this action is dismissed pursuant

to 28 U.S.C. § 1915(e)(2)(B)(ii).



                                                /s/   Thomas D. Schroeder
                                             United States District Judge

September 29, 2021




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